Case 3:17-cv-00072-NKM-JCH Document 1121 Filed 09/27/21 Page 1 of 12 Pageid#:
                                  18312
Case 3:17-cv-00072-NKM-JCH Document 1121 Filed 09/27/21 Page 2 of 12 Pageid#:
                                  18313
Case 3:17-cv-00072-NKM-JCH Document 1121 Filed 09/27/21 Page 3 of 12 Pageid#:
                                  18314
Case 3:17-cv-00072-NKM-JCH Document 1121 Filed 09/27/21 Page 4 of 12 Pageid#:
                                  18315
Case 3:17-cv-00072-NKM-JCH Document 1121 Filed 09/27/21 Page 5 of 12 Pageid#:
                                  18316
Case 3:17-cv-00072-NKM-JCH Document 1121 Filed 09/27/21 Page 6 of 12 Pageid#:
                                  18317
Case 3:17-cv-00072-NKM-JCH Document 1121 Filed 09/27/21 Page 7 of 12 Pageid#:
                                  18318
Case 3:17-cv-00072-NKM-JCH Document 1121 Filed 09/27/21 Page 8 of 12 Pageid#:
                                  18319
Case 3:17-cv-00072-NKM-JCH Document 1121 Filed 09/27/21 Page 9 of 12 Pageid#:
                                  18320
Case 3:17-cv-00072-NKM-JCH Document 1121 Filed 09/27/21 Page 10 of 12 Pageid#:
                                  18321
Case 3:17-cv-00072-NKM-JCH Document 1121 Filed 09/27/21 Page 11 of 12 Pageid#:
                                  18322
Case 3:17-cv-00072-NKM-JCH Document 1121 Filed 09/27/21 Page 12 of 12 Pageid#:
                                  18323
